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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION


DAVID L. FRANER,

            Plaintiff,

v.                                                CASE NO. 4:04cv342-RH/WCS

PRUDENTIAL FINANCIAL, INC.,

          Defendant.
____________________________________/


                           ORDER FOR DISMISSAL


      The parties have filed notice that this matter has been settled. (Document

30.) Accordingly,

      IT IS ORDERED:

      1. The parties shall abide by their settlement agreement.

      2. All claims other than for enforcement of the settlement agreement are

hereby voluntarily dismissed with prejudice in accordance with Federal Rule of

Civil Procedure 41.

      3. Jurisdiction is retained for enforcement of the order requiring compliance

with the settlement agreement.

      4. The clerk shall enter judgment stating, “The parties are ordered to abide
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by their settlement agreement. The court reserves jurisdiction to enforce the order

to abide by the settlement agreement. All claims in this action are voluntarily

dismissed with prejudice in accordance with Federal Rule of Civil Procedure 41.”

The clerk shall close the file.

         5. Any party that objects to the terms of this order or the judgment to be

entered pursuant hereto may file a timely motion to alter or amend in accordance

with Federal Rule of Civil Procedure 59(e).

         SO ORDERED this 10th day of May, 2005.

                                                s/Robert L. Hinkle
                                                Chief United States District Judge




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